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FILED

FEB 22 2024
IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA Mark C. McCartt, Clerk
U.S. DISTRICT COURT

UNITED STATES OF AMERICA, | Case No.2 4 CR 005 7 GKF
Plaintiff, INDICTMENT
[COUNT ONE: 21 U.S.C. §§ 846
v. and 841(b)(1)(A)(viii) — Drug
Conspiracy;
MORGAN COLE WOMACK, COUNT TWO: 21 U.S.C.
§§ 841(a)(1) and 841(b)(1)(B) (vii) —
Defendant. Possession of Methamphetamine
with Intent to Distribute]
THE GRAND JURY CHARGES:
COUNT ONE

[21 U.S.C. §§ 846 and 841(b)(1)(A)(viii)]

On or about February 6, 2024, in the Northern District of Oklahoma and
elsewhere, the defendant, MORGAN COLE WOMACK, knowingly, intentionally,
and willfully conspired, confederated, and agreed with others known and unknown
to the Grand Jury, to distribute and to possess with intent to distribute 500 grams or
more of a mixture and substance containing a detectable amount of
methamphetamine, a Schedule II controlled substance, a violation of Title 21,
United States Code, Section 841(a)(1).

All in violation of Title 21, United States Code, Sections 846 and

841(b)(1)(A)(viil).
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COUNT TWO
[21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(viii)]

On or about February 6, 2024, in the Northern District of Oklahoma, the
defendant, MORGAN COLE WOMACK, knowingly and intentionally possessed
with the intent to distribute 50 grams or more of a mixture and substance containing
a detectable amount of methamphetamine, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(B)(viii).

CLINTON J. JOHNSON A TRUE BILL
United States Attorney

(WA /s/ Grand Jury Foreperson

ADAM C. BAILES— Grand Jury Foreperson
Assistant United States Attorney

